59 F.3d 168NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    UNITED STATES of America, Plaintiff-Appellee,v.Randall Gene YOUNG, Defendant-Appellant.
    No. 95-6292.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  May 18, 1995Decided:  June 26, 1995
    
      Randall Gene Young, appellant pro se.  William D. Wilmoth, United States Attorney, Wheeling, WV, for appellee.
      Before NIEMEYER and WILLIAMS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying his request for a sentencing transcript at government expense.  We have reviewed the record and the district court's order, and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  United States v. Young, No. CR-90-146 (N.D.W. Va.  Feb. 2, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    